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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

                                                      )
 BERNARD WILLIAMS,                                    )
                                                      )
           Plaintiff,                                 )    Case No. 1:21-cv-819
                                                      )
           v.                                         )
                                                      )    Hon. Sunil R. Harjani,
 KRISTON KATO, SAMUEL CIRONE,                         )    District Judge
 PATRICIA SAWCZENKO, JOHN                             )
 FARRELL, SERGEANT CHASEN, M.                         )
 CRONIN (Star No. 15490), J. RAWSKI                   )    Hon. Heather K. McShain,
 (Star No. 3556), PAMELA RISLEY, as                   )    Magistrate Judge
 special representative of SERGEANT J.                )
 RISLEY (Star No. 975), UNKNOWN                       )
 EMPLOYEES of the CITY OF                             )
 CHICAGO, and the CITY OF                             )    JURY TRIAL DEMANDED
 CHICAGO,                                             )
                                                      )
           Defendants.
                                    JOINT STATUS REPORT

       The parties, by their respective attorneys, respectfully submit this joint status report,

pursuant to this Court’s order, Dkt. 87, and state as follows:

      I.         Written Discovery & Deposition Plan

       1.        Written discovery is still ongoing, and the parties are conferring on certain Monell

discovery issues and various subpoena riders. Defendants have produced 42,000 pages of records,

and Plaintiff has produced tens of thousands of pages of a “PTP” production in support of their

Monell claim. Defendants have also issued various subpoenas and are still working on obtaining

compliance from the Cook County State’s Attorney’s Office for key records in this matter.

       2.        The Parties are still conferring on HIPAA and Confidentiality Orders.

       3.        No depositions have yet occurred in this case. The parties have been conferring on

dates for third-party and party depositions. Further, the parties reached agreement on who would



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proceed first with the depositions of Eric Smith and Shawn Harris.

        4.       The following depositions are scheduled:

             •   July 11: Eric Smith

             •   July 15: Charles Snowden

             •   July 17: Shawn Harris

        5.       On May 28, 2024, Defendants issued a notice for the deposition of Plaintiff and seven

deposition subpoenas including Plaintiff’s co-defendant, ASAs, witnesses, and criminal defense

attorneys. Due to scheduling conflicts and other professional obligations, the parties agreed to

reschedule some of these depositions, and schedule other third-party depositions, for certain

September and October dates. Plaintiff will send a proposal for scheduling those depositions to

Defendants by Wednesday, July 3, 2024.

        6.       Defendants proposed scheduling the deposition of Defendant Sawczenko for late

October and the remaining Defendant depositions for the weeks of November 11, November 18, and

December 9, 2024. Defendants provided possible dates for six of the seven Defendant Officers.

Plaintiff is considering that proposal.

        7.       Fact discovery is currently scheduled to close on August 16, 2024. The parties are in

the process of conferring on what extension request might be appropriate considering the number of

depositions yet to be taken and other discovery that may be necessary. Defendants have proposed a

six-month extension until February 14, 2024 to complete discovery. Plaintiff is considering that

proposal and will provide a response within seven days.

     II.         Settlement Efforts

        1.       Plaintiff issued a settlement demand on March 25, 2024. Defendants’ counsel has

and continues to confer with the City and expects to provide a response to Plaintiff within fourteen




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days.

RESPECTFULLY SUBMITTED,

/s/    Daniel Noland                           /s/    Christiane E. Murray
Daniel Noland                                  Christiane Murray
Special Assistant Corporation Counsel          Special Assistant Corporation Counsel
One of the Attorneys for City of Chicago       One of the Attorneys for Defendant Officers

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Daniel Burns                                   Timothy Scahill
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